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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

GLEN LITTLETON,                                   MBD No.

                      Plaintiff,

       v.                                         PLAINTIFF’S MOTION TO COMPEL
                                                  AND ENFORCE SUBPOENA
MORNINGSTAR, INC.,

                      Defendant.



       Plaintiff Glen Littleton respectfully moves this Court to compel compliance with a

subpoena. Specifically, pursuant to Fed. R. Civ. P. Rule 37(a)(3)(B)(iv), Plaintiff moves this

Court to enter an order compelling nonparty subpoena recipient Morningstar, Inc. to produce

documents called for in Plaintiff’s subpoena duces tecum.

Dated: February 12, 2021                     LUBIN AUSTERMUEHLE, P.C.

                                               /s/ Peter S. Lubin

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